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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF LOUISIANA

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   CITY OF BATON ROUGE/EAST BATON
   ROUGE PARISH, CONSOLIDATED PARISH
   EMPLOYEES RETIREMENT SYSTEM and
   POLICY GUARANTY FUND,
                                                                   Civil Action No. 3:19-cv-00725-SDD-
            Plaintiffs,                                            RLB

            v.


  BANK OF AMERICA, N.A.; BARCLAYS
  BANK PLC; BARCLAYS CAPITAL INC.; BNP
  PARIBAS SECURITIES CORP.;
  CITIGROUP GLOBAL MARKETS INC.,
  CREDIT SUISSE AG; CREDIT SUISSE
  SECURITIES (USA) LLC; WELLS FARGO
  BANK, N.A.; CAPITAL ONE BANK;
  GOLDMAN SACHS & CO. LLC; J.P.
  MORGAN CHASE BANK, N.A., J.P. MORGAN
  SECURITIES LLC; MERRILL LYNCH;
  MORGAN KEEGAN/RAYMOND JAMES;
  STIFEL; UBS SECURITIES LLC;
  and UNNAMED COCONSPIRATORS,

              Defendants.
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                          DEFENDANT WELLS FARGO BANK, N.A.’S
                          MOTION TO DISMISS UNDER RULE 12(B)(6)


        Defendant Wells Fargo Bank, N.A. (“Wells Fargo Bank”) moves to dismiss the claim

asserted against it in the Complaint filed by the City of Baton Rouge / East Baton Rouge Parish,

Consolidated Parish Employees Retirement System, and the Police Guaranty Fund (collectively,

“Plaintiffs”), under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which

relief can be granted. Wells Fargo Bank files this motion with its Memorandum of Law in Support,

a Proposed Order, and the Declaration of Nancy Degan, Esq., in Support.
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 Dated: December 24, 2019                   /s/ Nancy Scott Degan
                                            Nancy Scott Degan (LA Bar No. 01819)
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                                            Attorneys for Wells Fargo Bank, N.A.



                             CERTIFICATE OF SERVICE

        I hereby certify that on the 24th day of December 2019, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system, which will send a notice of
electronic filing to all counsel of record.

                                                        /s/ Nancy Scott Degan
                                                        NANCY SCOTT DEGAN




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